                        UNITED STATES DISTRICT COURT
                                  FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA


DISABILITY RIGHTS NORTH                         )
CAROLINA,                                       )
                                                )
              Plaintiff,                        )
                                                )      CIVIL ACTION NO. 5:13-cv-102
             v.                                 )
                                                )
FRYE REGIONAL MEDICAL                           )
CENTER, INC.                                    )
                                                )
              Defendant.                        )
                                                )
                                                )
                                                )
                                                )
                                                )

                                        COMPLAINT

________________________________________________________________________

                                      INTRODUCTION

   1.      Plaintiff, Disability Rights North Carolina (“DRNC”), brings this action for

declaratory and injunctive relief pursuant to the Protection and Advocacy for Individuals

with Mental Illness Act (“the PAIMI Act”), 42 U.S.C. § 10801 et seq. By this action,

DRNC challenges the refusal of the defendant, Frye Regional Medical Center, Inc. (“Frye

Regional”), to provide DRNC with records to which DRNC is legally entitled.

   2.      DRNC is the duly-designated state Protection and Advocacy System (“P&A”)

for individuals with disabilities. 42 U.S.C. § 10801(b). DRNC is entrusted, empowered

and obligated to protect the civil rights of individuals with disabilities in the state of

North Carolina. Id.; 29 U.S.C. 794e(a)(1); 42 U.S.C. § 15041.



        Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 1 of 9
   3.      As the state P&A, DRNC has the responsibility and authority to access records

in the course of investigating allegations of abuse or neglect of individuals with mental

illness. 42 U.S.C. §§ 10805, 10806.

   4.      DRNC has requested certain records from Defendant that it is entitled to access

under federal law. 42 U.S.C. § 10805(a)(1)(B); 42 C.F.R. § 51.42(b)(2).

   5.      The Defendant’s refusal to produce the requested records prevents DRNC from

fulfilling its statutory mandates of investigating allegations of abuse and neglect as well

as providing protection and advocacy services for individuals with disabilities. By this

action, DRNC seeks an order from this Court requiring Defendant to provide the

requested information so that DRNC may discharge its statutory duties and investigate

the alleged abuse and neglect, and subsequent death, of an individual with a disability.

                               JURISDICTION AND VENUE

   6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331.

Plaintiff’s federal claim is made pursuant to the PAIMI Act, 42 U.S.C. § 10801 et seq.

Declaratory and injunctive relief is authorized by 28 U.S.C. §§ 2201 & 2202.

   7.      Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(c). As

Defendant’s principal place of business is located in this district, the Defendant is subject

to personal jurisdiction in this district and is therefore deemed to reside in this district.

                                            PARTIES

   8.      Plaintiff DRNC, the P&A designated by the Governor of the State of North

Carolina to provide protection and advocacy services to individuals with disabilities, is a



                                               2
        Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 2 of 9
“person” authorized to seek legal and equitable relief against organizations that deprive it

of rights granted to it under federal law. DRNC, a non-profit corporation independent of

state government, is incorporated in North Carolina and maintains its principal place of

business in Raleigh, North Carolina.

   9.      DRNC receives federal funds pursuant to the PAIMI Act and is thereby

obligated to provide protection and advocacy services for individuals with mental illness.

Under the PAIMI Act, DRNC is also authorized to investigate suspected incidents of

abuse and neglect and to pursue administrative, legal and other remedies on behalf of

individuals with mental illness. In order to carry out its investigative functions, DRNC is

granted the authority to have access to individuals with disabilities in the locations where

they receive services, and to have access to their medical and other records under certain

conditions. 42 U.S.C. § 10806(b)(2); 42 C.F.R. § 51.41.

   10.     Defendant Frye Regional is a healthcare provider located in Hickory, North

Carolina. It provides a range of services to individuals in Catawba County and

surrounding counties, including in-patient psychiatric services.

                               FACTUAL ALLEGATIONS

   11.     On or about March 14, 2013, an individual with mental illness hereinafter

referred to by his initials, “C.L.H.,” died while a patient of Frye Regional. C.L.H. had a

diagnosis of psychosis.

   12.     On or about June 4, 2013, DRNC received a report of C.L.H.’s death as part of

its regular protection and advocacy activities, and pursuant to certain reporting



                                             3
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 3 of 9
requirements under state law. See N.C. Gen. Stat. § 122C-31(b), (d). According to the

report, on or about February 18, 2013, C.L.H. was involved in an altercation with Frye

Regional staff. Frye Regional staff put C.L.H. into a restraint which resulted in C.L.H.

sustaining a fractured leg. On or about March 10, 2013, C.L.H. was evaluated for

shortness of breath and chest pain. Tests revealed a large pulmonary embolus in C.L.H.’s

right lung. Despite treatment in the Intensive Care Unit, C.L.H. died on March 14.

   13.     Based on the information in the report DRNC received, DRNC determined that

it had probable cause as defined in 42 C.F.R. § 51.2 to believe that C.L.H.’s death may

have resulted from abuse and/or neglect, thus meriting further investigation. Based upon

this probable cause determination, DRNC initiated an investigation into C.L.H.’s death

pursuant to its federal authority under the PAIMI Act.

   14.     On June 27, 2013, DRNC notified Frye Regional, in writing, that it would be

investigating the allegations concerning the abuse and/or neglect, and subsequent death,

of C.L.H. As part of that investigation, DRNC requested, in writing, a variety of

documents, including C.L.H.’s treatment records and Frye Regional’s internal

investigation records. The request for internal investigation records included but was not

limited to root cause analyses and other peer review records. The letter provided detail

concerning the statutory basis for the request. The letter also requested access to the

requested records within 24 hours, as required by the PAIMI Act.




                                             4
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 4 of 9
   15.      On July 2, 2013, Frye Regional contacted DRNC to request an additional 30

days in which to provide the requested records. DRNC agreed to wait until July 19,

2013, to receive the requested records.

   16.      On July 22, 2013, DRNC received a disc containing C.L.H.’s complete

medical records (as stated by Frye Regional’s counsel). Citing peer review privilege,

Frye Regional refused to provide the internal investigation records, including any root

cause analyses and other peer review records.

                                    CAUSE OF ACTION

   17.      Plaintiff adopts and restates the allegations set forth in paragraphs 1-16 of this

complaint.

   18.      The PAIMI Act and its implementing regulations give DRNC, as North

Carolina’s designated P&A, the authority to investigate incidents of abuse and neglect of

individuals with mental illness if the incidents are reported to the system or there is

probable cause to believe the incidents occurred. 42 U.S.C. § 10805(a)(1)(A); 42 C.F.R.

§ 51.42(b).

   19.      The PAIMI Act and its implementing regulations give DRNC the authority to

access all individual records of:

         any individual [with a mental illness] (including an individual who has died

         or whose whereabouts are unknown)--




                                               5
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 5 of 9
                  a. who by reason of the mental or physical condition of such

                      individual is unable to authorize the system to have such

                      access;

                  b. who does not have a legal guardian, conservator, or other

                      legal representative, or for whom the legal guardian is the

                      State; and

                  c. with respect to whom a complaint has been received by the

                      system or with respect to whom… there is probable cause to

                      believe that such individual has been subject to abuse or

                      neglect.

           42 U.S.C. § 10805(a)(4)(B); 42 C.F.R. § 51.42(b)(2).

   20.     C.L.H. is an individual with mental illness who has died and is therefore

unable to authorize DRNC to access his records. During his life, the New Hanover

County Department of Social Services, a division of the State of North Carolina, acted as

C.L.H.’s guardian. DRNC has received a complaint regarding C.L.H.’s death and has

determined that there is probable cause to believe that C.L.H. was subjected to abuse

and/or neglect. Therefore, DRNC is entitled to access C.L.H.’s records pursuant to the

authority granted by the PAIMI Act.

   21.     The implementing regulations to the PAIMI Act define individual records to

include “[r]eports prepared by an agency charged with investigating abuse, neglect, or

injury occurring at a facility rendering care or treatment, or by or for the facility itself”



                                               6
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 6 of 9
that describe abuse, neglect or injury occurring at the facility, the steps taken to

investigate such incidents, and supporting information relied upon in creating the report.

42 C.F.R. § 51.41(c)(2).

   22.     Frye Regional is charged with investigating allegations of abuse and/or neglect

under both federal and state law. 42 C.F.R. § 482.13(a)(2); N.C. Gen. Stat. § 131E-

256(g). Therefore, any reports or documents generated during Frye Regional’s

investigation of C.L.H.’s death are considered records to which DRNC is entitled under

the authority of the PAIMI Act.

   23.     The implementing regulations to the PAIMI Act further define individual

records to include “[r]eports prepared by individuals and entities performing certification

or licensure reviews, or by professional accreditation organizations, as well as related

assessments prepared for the facility… except that nothing in this section is intended to

preempt State law protecting records produced by medical care evaluation or peer review

committees.” 42 C.F.R. § 51.41(c)(4).

   24.     The accreditation standards of The Joint Commission require Frye Regional to

investigate the deaths of patients in its care. Any reports prepared by Frye Regional in

such investigation are individual records to which DRNC is entitled under the authority

of the PAIMI Act.

   25.     State law protects root cause analyses and peer review records from certain

instances of disclosure, as these materials “shall not be subject to discovery or

introduction into evidence in any civil action against a hospital.” N.C. Gen. Stat. § 131E-



                                              7
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 7 of 9
95(b); see also id. § 122C-30(2). However, DRNC seeks access to such records for the

sole purpose of fulfilling its statutory obligation to investigate allegations of abuse and/or

neglect. Therefore, the regulations to the PAIMI Act are not in conflict with state law

protecting such records, and disclosure of such records to DRNC is not prohibited.

   26.     By refusing DRNC’s written request for access to internal investigation

records, including root cause analyses and other peer review records, Frye Regional has

violated DRNC’s statutory rights under the PAIMI Act, 42 U.S.C. § 10801 et seq. and the

regulations promulgated pursuant to it, 42 C.F.R. § 51.1 et seq.

   27.     Frye Regional’s violation of the PAIMI Act irreparably harms DRNC by

preventing it from carrying out its responsibilities under the Act.

   28.     Unless Frye Regional is enjoined to provide DRNC the access required by the

PAIMI Act, DRNC will continue to be irreparably harmed and will be unable to protect

and advocate for persons with disabilities.

                                  INJUNCTIVE RELIEF

   29.     Plaintiff adopts and restates the allegations set forth in paragraphs 1-28 of this

complaint.

   30.     As a proximate result of Frye Regional’s violation of the PAIMI Act, DRNC

has suffered, and will continue to suffer, irreparable harm for which there is no remedy at

law.

                                  RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:



                                              8
         Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 8 of 9
   1. Enter a declaratory judgment that Defendant’s refusal to provide the requested

records violates the PAIMI Act;

   2. Enter permanent injunctive relief requiring the Defendant to provide Disability

Rights NC with access to the requested internal investigation records, including root

cause analyses and other peer review records;

   3. Retain jurisdiction over this action to ensure Defendant’s compliance with the

mandates of the PAIMI Act; and

   4. Such other, further or different relief as the Court deems equitable and just.



Dated: July 22, 2013                             Respectfully submitted,


                                                 /s/ John R. Rittelmeyer
                                                 John R. Rittelmeyer, N.C. Bar No. 17204
                                                 john.rittelmeyer@disabilityrightsnc.org

                                                 /s/ Kristine L. Sullivan_________
                                                 Kristine L. Sullivan, N.C. Bar No. 35595
                                                 kristine.sullivan@disabilityrightsnc.org

                                                 Attorneys for Plaintiff
                                                 DISABILITY RIGHTS NC
                                                 2626 Glenwood Avenue, Suite 550
                                                 Raleigh, NC 27608
                                                 Telephone: (919) 856-2195
                                                 Fax: (919) 856-2244




                                             9
      Case 5:13-cv-00102-RLV-DSC Document 1 Filed 07/22/13 Page 9 of 9
